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 1
 2
 3                             UNITED STATES DISTRICT COURT
 4                            EASTERN DISTRICT OF WASHINGTON
 5   UNITED STATES OF AMERICA,        )
                                      )
 6                     Plaintiff,     )              NO. CR-06-2172-LRS
                                      )
 7        v.                          )              ORDER GRANTING MOTION TO
                                      )              EXPEDITE (Ct. Rec. 117)
 8                                    )              AND GRANTING MOTION
     FRANKLIN NASH,                   )              TO MODIFY CONDITIONS OF
 9                                    )              RELEASE (Ct. Rec. 113)
                       Defendant.     )
10   _________________________________)
11
           On April 3, 2007, this court held a bail review hearing.
12
     James Hagarty, Esq., appeared for the government.                 Counsel for the
13
     Defendant, Amanda Bjur Stevens, Esq. was present.                 The Defendant
14
     was not present as he is still in treatment.
15
           The motion to expedite is granted (Ct. Rec. 117).
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           The government did not object to defendant’s motion to modify
17
     conditions of release.
18
           IT IS ORDERED That the motion to modify conditions of release
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     (Ctr. Rec. 113) is granted as follows:
20
           1.    The Defendant shall reside with his grandfather.
21
           2.    The defendant shall participate in electronically
22
     monitored home confinement.         The defendant shall wear, at all
23
     times, an electronic monitoring device under the supervision of
24
     Pretrial Services.        In the event the defendant does not respond to
25
     electronic monitoring or cannot be found, the Pretrial Services
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     Officer shall forthwith notify the United States Marshals'
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     Service, who shall immediately find, arrest and detain the
28
     ORDER GRANTING MOTION TO EXPEDITE
     AND ORDER GRANTING MOTION TO MODIFY
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     defendant.     The cost of this program is to be paid by the
 1
     defendant unless this officer determines that the defendant is
 2
     unable to pay, and in such case the cost of this surveillance is
 3
     to be paid under a program established in accordance with 18
 4
     U.S.C. § 3154(11).       On a showing of necessity, the defendant may
 5
     obtain written permission to leave this area from the United
 6
     States Probation Office.        The Court will not require the
 7
     electronic home monitoring be in place prior to the Defendant’s
 8
     release.
 9
           3.     The Defendant shall follow recommended aftercare
10
     treatment.
11
           4.     The Defendant shall be ordered to alcohol and/or drug
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     testing up to six times per month at the discretion of U.S.
13
     Probation.
14
           5.     The Court will not require that a surety bond or an
15
     appearance bond be posted in this matter.
16
           6.     The conditions of release previously ordered October 13,
17
     2006 remain in effect.
18
           DATED this 3rd day of April, 2007.
19
                                                    s/Michael W. Leavitt
20                                                    MICHAEL W. LEAVITT
                                                 United States Magistrate Judge
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     ORDER GRANTING MOTION TO EXPEDITE
     AND ORDER GRANTING MOTION TO MODIFY
